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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                    06/26/2025
                                                                       :
BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :              24-cv-10049
                                                                       :
                  -v-                                                  :               ORDER
                                                                       :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL, JED WALLACE, :
STREET RELATIONS INC.,                                                 :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, IT ENDS WITH US MOVIE LLC,                                :
MELISSA NATHAN, JENNIFER ABEL, STEVE                                   :
SAROWITZ,                                                              :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                        -v-                                            :
                                                                       :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                    :
SLOANE, VISION PR, INC., THE NEW YORK TIMES :
COMPANY,                                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Lively may submit a letter of no more than two single-spaced pages by July 2, 2025,

addressed solely to the argument made by Wallace and Street Relations (the “Wallace

Defendants”) in support of their motion to dismiss that “Lively never identifies any specific co-

conspirator committing any specific act that qualifies under § 302(a)(2)—an act taken while

physically present in New York—that she is seeking to impute to Wallace through the
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conspiracy theory jurisdiction.” Dkt. No. 170 at 4. Although the Wallace Defendants argue in

their opening brief that they are not subject to jurisdiction under the long-arm statute, including

via a theory of conspiracy jurisdiction, see Dkt. No. 141 at 7–11, the specific argument quoted

above is only squarely raised in reply.

       The Wallace Defendants may submit a response of no more than two single-spaced pages

by July 7, 2025.

       SO ORDERED.

Dated: June 26, 2025                                 __________________________________
       New York, New York                                       LEWIS J. LIMAN
                                                            United States District Judge




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